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          Dear Jane, Barry, Josh and Dan,
          I want to thank you for your time last week as we attempt to reach
          an understanding between Swan Ball and Cheekwood. I have asked
          Elizabeth Nichols to please share a copy of our presentation to
          ensure that all points presented are available for your review. We
          welcome any comments and/or questions. Two items below we
          would like to mention, before presenting next steps from our
          meeting last week:

                 1.     In the winter of 2023, we met and learned Cheekwood’s
                 expectations regarding the performance of Swan Ball and its
                 volunteers. We understood Cheekwood resources would be
                 monitoring expenses related to the 2023 SB and agreed to
                 review the outcome of this collaboration and have further
                 discussion after the ball closed out. However, we do not
                 recall agreeing or committing to an ongoing net donation nor
                 to a net ratio; further we did not clearly understand the ratio
                 requirements nor how the ratio was calculated. Therefore, a
                 50% ROI requirement was not presented to our 2024
                 Chairmen.
                 2.     For the past 8-10 years, there is continuous conversation
                 that Swan Ball procures donors (not previous or recent
                 Cheekwood or SB donors) whom Cheekwood then solicits for
                 direct donations/sponsorships, exclusive of SB. This creates a
                 hardship for chairmen, requiring new underwriters
                 identified/solicited each year as a replacement. There is also
                 conversation that Cheekwood is not appreciative or easy to
                 work with and that Swan Ball is perceived as “a problem” by
                 the BOD. This is important to mention as it is a topic arising
                 when our Nominating Committee pursues volunteers – this is
                 an issue if Swan Ball is to be considered as a continuum. It is
                 becoming increasingly difficult to recruit chairmen to
                 volunteer 12-18 months of their life to support a beneficiary
                 lacking appreciation and desiring to remove what has been
                 characterized as the “historical magic” of this legendary
                 event.

          After reviewing our meeting notes, we would like to ask the
          following:


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                 1.     We need confirmation that Cheekwood leadership
                 understands Swan Ball’s priority is to net the highest absolute
                 net proceeds annually for Cheekwood while maintaining the
                 Swan Ball brand; we cannot, however, commit to
                 performance measures given the multiple challenges
                 articulated in the PowerPoint presentation. We are a group of
                 volunteers.  
                 2.     We would like a member of the Executive Committee to
                 be present for the regularly scheduled meetings between our
                 Chairmen and the Cheekwood staff (except our Swan Ball
                 administrative team); this will provide continuity and avoid
                 misunderstandings in the future. You can imagine how
                 surprised we were when we heard that Cheekwood stated
                 the Swan Ball didn’t operate with a budget!
                 3.     As to the 2024 Budget, until the accounting questions we
                 presented (and any others you may feel might mitigate the
                 ‘ratio’ problem) are reviewed, we will manage the 2024 SB to
                 a ratio range of 40-50% and proceed with the budget process
                 allowing the chairmen to move forward. We are pleased
                 Cheekwood has agreed to assist in achieving this goal by:
                            a.     Jane’s negotiations with select vendors
                            b.     Dan/Suzanne providing accounting support
                            needed to eliminate the LBMC line item (Provided this
                            does not impact reconciliations)

                 4.     Although we did not review in detail the items listed on
                 the last slide, we must reach consensus related to the future
                 of Swan Ball prior to embarking on plans for 2025. The ask for
                 the 2025 Ball Chairmen typically occurs in the 4th quarter. The
                 answers to the accounting questions will be key to
                 determining whether the ball can ever meet your
                 expectations as we are not willing to diminish the image of
                 the Swan Ball.

          Again, thank you for your time. Please let us know your thoughts as
          soon as possible so we can proceed with 2024 and future years.

          All the best,
          Kathleen Estes
          Chairman


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          Swan Ball Executive Committee




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